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                  Exhibit 8
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Attorneys for Plaintiffs with Roundup
Exposure Claims Over Which There Is No
Federal Jurisdiction

                          UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA



IN RE: ROUNDUP PRODUCTS LIABILITY        MDL No. 2741
LITIGATION                               Case No. 16-md-02741-VC

This document relates to:                DECLARATION OF ADAM PULASKI,
                                         SUBJECT TO SPECIAL APPEARNCE, IN
                                         SUPPORT OF OBJECTIONS TO CLC
                                         COMMON BENEFIT MOTION, Doc.
                                         12394




 Case No. 16-md-02741-VC, DECLARATION OF ADAM PULASKI, SUBJECT TO SPECIAL
 APPEARANCE, IN SUPPORT OF OBJECTIONS TO CLC COMMON BENEFIT MOTION
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            DECLARATION OF SIGNATORY UNDER PENALTY OF PERJURY

I, Adam K. Pulaski, declare that:
       1.      This Declaration, and the undersigned counsel's participation in these objections,

constitute a special appearance subject to the undersigned's objections to this Court's jurisdiction.

I object to the MDL No. 2741 Court's jurisdiction over me, over my law firm, and over my and

Pulaski Kherkher' s Roundup clients. The undersigned only submits this Declaration, and signs

briefing, subject to the understanding that jurisdictional objections are not waived. 1 It is my

position that the MDL No. 2741 Court lacks jurisdiction to enter orders requiring deposits and/or

payments out of proceeds for resolving my and my firm's clients' Roundup-exposure related cases.

This disclaimer of jurisdiction is controlling over anything to the contrary.

       2.      I am an attorney and partner at Pulaski Kherkher, PLLC. Currently, we are lead

counsel for approximately 2,181 clients with claims arising from Roundup exposure. None of these

clients' cases were voluntarily filed in this MDL No. 2741, and no such client acquiesces to this

Court's jurisdiction over them, their cases, or their counsel for any purpose.

       3.      None of the said 2,181 clients have cases pending before this Court. 379 clients

have cases pending in state court in the Twenty-First Judicial Circuit Court of St. Louis County,

Missouri.

       4.      I, Pulaski Kherkher, PLLC, and these 2,181 clients did not voluntarily subject

ourselves to this Court's jurisdiction with regard to these said 2,181 Roundup cases. With respect

to these cases, Pulaski Kherkher has not signed any participation agreement with court-appointed

counsel in MDL No. 2741.


1 See, e.g., Vincent v. Hughes Air W., Inc., 557 F.2d 759, 765 (9th Cir. 1977); Hartland v. Alaska
Airlines, 544 F.2d 992 (9th Cir. 1976).

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       5.      This Court lacks personal and subject matter jurisdiction to enter an order requiring

the deposit and/or payment of a share of the proceeds arising from the settlement of the Roundup­

related claims of my or my firm's clients, because their cases are not properly before the Court.

       6.      The work of the MDL Plaintiffs' Co-Lead Counsel (CLC), the Plaintiffs' Executive

Committee (PEC), and those performing "approved common benefit work" (collectively "MDL

Efforts") did not benefit myself or my firm in the representation of these clients, nor was a benefit

thereby bestowed upon these clients.

       7.      The CLC's motion claims that it "conducted the substantial work of the litigation

in ... state courts" (CLC Mot., 1 :6), and that "the MDL Leadership conducted most of the state

court litigation" (id. at 2:6). [Doc.12394, Pages 7-8 of 33].This is not true as to the clients Pulaski

Kherkher represents as lead counsel. The CLC has done no work in state court for these clients,

much less has the CLC conducted "the substantial work." Therefore, as to these clients, the CLC's

statement is not true.

       8.      The CLC's motion discusses the discovery it pursued, motions that it fought in the

federal MDL court, depositions, experts, Daubert motions, and cases tried to verdict.With respect

to the relevant 2,181 cases, we have not received or relied on any of the discovery documents or

transcripts that the CLC states it developed in MDL No. 2741.

       9.      With respect to the relevant 2,181 cases, the alleged MDL Efforts did not benefit

me, my firm, or my clients.I have not shared work product with the CLC or the PEC as it pertains

to these cases. No one from the CLC or PEC offered to provide me or my firm a trial packet,

documents, transcripts, or experts, as it pertains to these cases. I have no reason to believe that

the MDL Plaintiffs' experts will be available, or needed, in any of these cases




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without agreement      either a participation agreement, or by nature of a settlement agreement in

which a frm submits to the jurisdiction of the court. My frm has not entered into a participation

agreement and my firm's settlement agreement does not recognize the MDL Court, or any other

federal court, as having jurisdiction over any of its terms, enforcement, or the clients identified

therein.

           14.   The CLC contends that the MDL Efforts are responsible for successful

representation of plaintiffs in Missouri courts. 3 However, to my knowledge, the CLC and the PEC

did not receive an order from the Missouri courts that recognizes their entitlement to compensation

working for plaintiffs with whom the CLC and/or PEC have not contracted. This statement is based

on the fact that the CLC Motion does not claim that its fee and expense demand has the imprimatur

of any state Judge, because I never received notice of such a motion or order in my cases, and

because we have been actively litigating Roundup cases in Missouri and believe that had such an

order ever been issued in a Roundup case, then in the ordinary course of my active litigation

practice, then I would know of it.

           15.   To be clear, Pulaski Kherkher, PLLC, has 379 clients filed (2,181 total represented

as lead counsel) in Missouri state courts and not once were we ever served with any document or

communication indicating the CLC and/or PEC were working for, or would be entitled to

compensation from, plaintiffs or firms with whom the CLC and/or PEC have not contracted. Nor

did we receive any notice or indication that the CLC or PEC firms' activities in the Missouri courts

were intend to serve as a "common beneft," nor was I provided with any information, discovery,

or work product that the CLC or PEC firms may have created or utilized for the benefit of their




3
    E.g., CLC Mot., 5 [Doc. 12394, Page 11 of 33].
                                                 5
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